            Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 1 of 12



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Northern Division)

CX REINSURANCE COMPANY         *
LIMITED, f/k/a CNA
REINSURANCE COMPANY LIMITED *
1 Royal Exchange Avenue
Suite 306                      *
London EC3V 3LT
United Kingdom,                *
                    Plaintiff;
                               *
v.

BRENTWOOD PROPERTIES, LLC
9005 Forest Oak Road
Owings Mill, Maryland 21117

        SERVE ON:
        Paul L. Taylor, Jr.
        9005 Forest Oak Road
        Owings Mills, Maryland 21117               Civil Action No.:

AND

CHASE MANAGEMENT, INC.
1007 North Charles Street
Baltimore, Maryland 21201

        SERVE ON:
        Ira C. Cooke, Esquire
        36 S. Charles Street
        Baltimore, Maryland 21201

PAUL L. TAYLOR, JR.
324 Main Street
Laurel, Maryland 20707
AND

DE'ASIA WILSON
1836 North Washington Street
Baltimore, Maryland 21213

AND




18236/0/02898653.DOCXy1
              Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 2 of 12



DAVID WILSON, JR.
1836 North Washington Street
Baltimore, Maryland 21213

                          Defendants.
*        *        *       *      *      *      *       *      *      *       *       *      *

                              COMPLAINT FOR DECLARATORY RELIEF

         Plaintiff, CX Reinsurance Company Limited, formerly known as CNA Reinsurance

Company Limited ("CX Re"), by its undersigned counsel, hereby sues Defendants Brentwood

Properties, LLC ("Brentwood"), Chase Management, Inc. ("Chase Management"), Paul L. Taylor,

Jr. ("Mr. Taylor"), De'Asia Wilson ("Ms. Wilson"), and David Wilson, Jr. ("Mr. Wilson") for a

declaratory judgment and decree, and states:

                                     THE NATURE OF THIS ACTION

         1.       This is a complaint for declaratory relief under 28 U.S.C. § 2201. CX Re seeks a

declaration of the parties' rights and obligations under general liability insurance policies CX Re

issued to Chase Management identified by policy numbers CNAGL1281-99 and CNAGL 1363-

00 (collectively, the "Policies"), which provide certain coverage to Chase Management and other

named and defined insureds. CX Re asks the Court to declare that, due to an exclusion contained

in the Policies, to be entitled to a defense or indemnity in connection with a lawsuit Mr. Wilson

and Ms. Wilson filed in the Circuit Court for Baltimore City styled Wilson, et al. v. Brentwood

Properties LLC, et al., Case No. 24-C-18-000615 (the "Underlying Action"), Brentwood or any

other person who may be an insured under the Policies in connection with the Underlying Action

(collectively, the "Insureds") must show that an exception to that exclusion applies and, because

no Insured has made that showing, CX Re does not have an obligation to provide a defense or

indemnity for the Underlying Action.




18236/0/02898653.DOCXy1                            2
              Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 3 of 12



                                               THE PARTIES

         2.        Plaintiff CX Re is in the insurance business. It is organized under the laws of the

United Kingdom, and has its principal place of business at 1 Royal Exchange Avenue, Suite 306,

London EC3V 3LT, United Kingdom. Formerly a part of CNA Financial Corporation, CX

Reinsurance was acquired on or about November 1, 2002 by Tawa U.K. Ltd. and subsequently

renamed CX Reinsurance Company Ltd.

         3.        Defendant Brentwood Properties, LLC is named as an insured under the Policies

and identified therein as "Brentwood Properties" and "Brentwood Management." Upon

information and belief, the Policies were issued, in part, in connection with Brentwood's business

of owning and/or managing rental housing in Baltimore, Maryland. Brentwood is a forfeited

Maryland corporation. Its stated principal place of business and resident agent are in Owings

Mills, Maryland.

         4.       Defendant Chase Management is the first-named insured under the Policies, and is

named as an insured in connection with the property at issue in the Underlying Action. Although

not joined as a defendant in the Underlying Action, Chase Management might claim an interest in

the relief sought in this action in connection with the Policies and Chase Management's business

of owning or managing rental housing in Baltimore, Maryland. This Complaint For Declaratory

Relief includes Chase Management among the persons referred to as "Insureds" for ease of

reference, and without prejudice to whether it satisfies the factual predicates to be an insured

under the Policies in connection with the Underlying Action. Chase Management is a forfeited

Maryland corporation. Its stated principal place of business and resident agent are in Baltimore,

Maryland.




18236/0/02898653. DOCXyl
                                                     3
              Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 4 of 12



         5.        Upon information and belief, Defendant Paul L. Taylor, Jr. is, or at times pertinent

to this action was, affiliated with Brentwood. Due to that affiliation, Mr. Taylor may be or claim

to be an insured under the Policies, which were issued to Chase Management and Brentwood,

among others, in connection with their business of owning or managing rental housing in

Baltimore, Maryland. This Complaint For Declaratory Relief includes Mr. Taylor among the

persons referred to as "Insureds" for ease of reference, and without prejudice to whether he

satisfies the factual predicates to be an insured under the Policies in connection with the

Underlying Action. Upon information and belief, Mr. Taylor is a Maryland citizen residing in

Prince George's County, Maryland.

         6.        Defendant De'Asia Wilson is one of the two underlying plaintiffs who filed the

Underlying Action, in which she alleges she was injured as a minor by exposure to paint or dust

containing lead or lead pigment. Ms. Wilson is a Maryland citizen residing in Baltimore,

Maryland. Ms. Wilson is not an insured and has no rights under the Policies. CX Re joins Ms.

Wilson as a defendant herein solely because she may claim an interest in the matter before the

Court, though CX Re denies that Ms. Wilson has a legally cognizable interest in the Policies.

         7.       Defendant David Wilson, Jr. is the other underlying plaintiff. He also alleges that

he was injured as a minor by exposure to paint or dust containing lead or lead pigment. Mr.

Wilson is a Maryland citizen residing in Baltimore, Maryland. Mr. Wilson is not an insured and

has no rights under the Policies. CX Re joins Mr. Wilson as a defendant herein solely because he

may claim an interest in the matter before the Court, though CX Re denies that Mr. Wilson has a

legally cognizable interest in the Policies.




18236/0/02898653. DOCXyl
                                                    4
              Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 5 of 12



                                        JURISDICTION AND VENUE

         8.       This Court has subject matter jurisdiction over this case in accordance with 28

U.S.C. § 1332(a)(2) because this is an action between CX Re, which is a citizen or subject of a

foreign state, and the defendants, who are citizens of the State of Maryland, and because the

amount in controversy under the Policies exceeds the sum or value of $75,000, exclusive of

interest and costs.

         9.       This Court has personal jurisdiction over the defendants because they are either

Maryland entities, with their principal place of business in Maryland, or natural persons domiciled

in Maryland.

         10.      This judicial district is the proper venue for this action pursuant to 28 U.S.C.

§ 1391(b) because the defendants all reside in Maryland and the events giving rise to the claim

occurred in this judicial district. In addition, the defendants are subject to personal jurisdiction in

this district and this action arises out of a dispute concerning insurance policies that the Insureds

have asserted covers a property located in this district, allegedly creating obligations in

connection with a lawsuit filed in the Circuit Court for Baltimore City in Baltimore, Maryland.

                                    FACTS COMMON To ALL COUNTS

A.       The Underlying Action

         11.      The Underlying Action was filed on or about February 2, 2018. A true and

accurate copy of the complaint in the Underlying Action is attached hereto as Exhibit A.

         12.      According to the complaint in the Underlying Action, Mr. Wilson and Ms. Wilson

"resided, visited, and spent significant amounts of time at" a property known as 1518 Brentwood

Avenue ("the Property") in Baltimore, Maryland "from approximately 1999 through

approximately 2000." Id. at 3.




18236/0/02898653. DOCXv1                             5
             Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 6 of 12



          13.      Mr. Wilson and Ms. Wilson allege in the Underlying Action that the defendants in

that case owned the Property "[d]uring the years that Plaintiffs resided or spent time at the leased

premises[.]" Id. at 4.

          14.      Mr. Wilson and Ms. Wilson claim they were injured by exposure to lead at the

Property. Specifically, Mr. Wilson and Ms. Wilson allege that, while residing at the Property,

they "ingested and consumed paint, and paint dust . . . contain[ing] lead pigment and lead,

thereby causing Plaintiffs to suffer severe and unremitting illnesses, injuries and infirmities, "

including lead poisoning, severe physical pain, emotional anguish, and brain injury. Id. at 4-8.

         15.       The complaint in the Underlying Action purports to state claims against the

Insureds for negligence, violation of consumer protection act, and negligent misrepresentation,

and for each of those claims, demands damages in an amount in excess of $75,000.00. Id.

B.       The Insureds' Tender and the Pertinent Terms of the Policies

         16.       The Insureds tendered the Underlying Action to CX Re for defense.

         17.       The Policies have the effective dates of August 25, 1999 to February 1, 2000

(Policy No. CNA GL1281-99) and from February 1, 2000 to February 1, 2001 (Policy No. CNA

GL1363 -00).

         18.       The Policies' insuring agreement provides, in pertinent part:

                   We will pay those sums that the insured becomes legally obligated
                   to pay as damages because of "bodily injury" . . . to which this
                   insurance applies. We will have the right and duty to defend the
                   insured against any "suit" seeking those damages. . . . We may, at
                   our discretion, investigate any "occurrence" and settle any claim or
                   "suit" that may result.

                                                 ***

                   This insurance applies to "bodily injury" . . . only if:
                   (1) The "bodily injury" . . . is caused by an "occurrence" that takes
                   place in the "coverage territory"; and



18236/0/02898653. DOCXv I
                                                     6
            Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 7 of 12



                 (2) The "bodily injury" . . . occurs during the policy period.

        19.      Brentwood is identified as an insured under the Policies. Mr. Taylor is not named

as an insured but may be covered under the Polices' definition of an insured if he can establish

that he fell within that definition at the pertinent time.

        20.      As defined by the Policies, "[b]odily injury" means "bodily injury, sickness or

disease sustained by a person, including death resulting from any of these at any time";

"[o]ccurrence" means "an accident, including continuous or repeated exposure to substantially the

same general harmful conditions"; and "coverage territory" includes "[t]he United States of

America."

        21.      The Policies include an endorsement titled "COVERAGE LIMITATION — LEAD

CONTAMINATION" that contains the following exclusion, in pertinent part:

                 SECTION I - EXCLUSIONS

                 This insurance does not apply to:

                                                 ***

                  (3) "Bodily injury" . . . arising out of the ingestion, inhalation,
                 absorption of, or exposure to, lead, lead-paint or other lead-based
                 products of any kind, form or nature whatsoever.

        22.      Subparagraph (a) of Section II of the endorsement, however, grants coverage under

the following pertinent condition:

                 SECTION II - COVERAGE LIMITATION

                 (a.) Exclusion (3) above does not apply to and we will pay those
                 sums that the Insured becomes legally obligated to pay as damages
                 because of "bodily injury" . . . arising out of the Ingestion,
                 Inhalation, absorption of, or exposure to lead, lead-paint or other
                 lead-based products of any kind, form or nature whatsoever to
                 which the insurance provided by this endorsement applies. We will
                 have the right and duty to defend any "suit" seeking those damages.




18236/0/02898653.DOCXv1
                                                     7
            Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 8 of 12



                 We may at our discretion investigate any "occurrence" and settle
                 any claim or "suit" that may result.

        23.      The coverage afforded in subparagraph (a) is qualified by subparagraph (b),

which provides, in pertinent part:

                 (b) This insurance applies to "bodily injury" . . . only if:

                                                 ***

                 (4) For "bodily injury" a lead level in blood, bone or body tissue in
                 excess of the "safe level" is first diagnosed by a State licensed
                 physician or other State licensed health care provider during this
                 policy period[.]

        24.      The term "safe level" is defined in the endorsement to mean "10 micrograms of

lead per deciliter of blood as prescribed by the Centers For Disease Control."

C.      CX Re's Provision of a Defense Under a
        Reservation of Rights and Disclaimer of Indemnity

        25.      CX Re disclaimed any obligation under the Policies to defend or indemnify the

Insureds for the Underlying Action. CX Re nonetheless undertook to participate in the Insureds'

defense of the Underlying Action subject to a full reservation of rights.

D.      The Policies Do Not Apply to the Claims
        Stated Against the Insureds in the Underlying Action

        26.      Based on the terms of the Policies and the allegations of the complaint in the

Underlying Action, CX Re does not have a duty to defend or indemnify the Insureds in

connection with the Underlying Action.

        27.      The complaint in the Underlying Action is a "suit" seeking damages for "bodily

injury" that allegedly took place within the "coverage territory" during each of the policy

periods.




18236/0/02898653.DOCXy1                              8
            Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 9 of 12



        28.      Under the exclusion contained in the COVERAGE LIMITATION — LEAD

CONTAMINATION endorsement, however, any coverage otherwise afforded by the Policies "does

not apply" because Mr. Wilson's and Ms. Wilson's bodily injuries allegedly arose out of the

ingestion and consumption of "paint[] and paint dust . . . contain[ing] pigment and lead[.]"

        29.      To restore coverage that is otherwise excluded by the COVERAGE LIMITATION —

LEAD CONTAMINATION endorsement, the Insureds must prove that an exception to the exclusion

applies.

        30.      The potentially applicable exception requires that the Insureds demonstrate that

Mr. Wilson and/or Ms. Wilson were first diagnosed with lead levels in excess of the "safe level"

of 10 micrograms of lead per deciliter during the policy periods beginning August 25, 1999 and

ending February 1, 2000 and beginning February 1, 2000 and ending February 1, 2001 (the

Policies' effective dates).

        31.      None of the Insureds have met their burden to show that this, or any, exception to

the exclusion contained in the COVERAGE LIMITATION — LEAD CONTAMINATION endorsement

applies.

        32.      Furthermore, CX Re is unaware of any facts that would support application of

any exception to the exclusion.

        33.      The Insureds therefore have not met and, upon information and belief, cannot

meet their burden to establish an exception to the exclusion contained in the COVERAGE

LIMITATION — LEAD CONTAMINATION endorsement.

        34.      Accordingly, the exclusion applies, coverage under the Policies "does not apply,"

and the Insureds are not entitled to indemnity from CX Re for any liability they may be

determined to have in connection with the Underlying Action.




18236/0/02898653.DOCXv1
                                                  9
            Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 10 of 12



          35.     For the same reason, the Insureds are not entitled to a defense from CX Re in

connection with the Underlying Action.

                                 COUNT I — DECLARATORY JUDGMENT

          36.     CX Re incorporates by reference the averments stated in the foregoing

paragraphs as if fully set forth herein.

          37.     In accordance with 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil

Procedure, this Court is authorized to declare the rights and other legal relations of a party

seeking a declaratory judgment in a matter of actual controversy within the Court's jurisdiction.

          38.     As a consequence of demands made by the Insureds upon CX Re, there exists an

actual controversy within the Court's jurisdiction as to whether CX Re has an obligation to

provide a defense or liability coverage to any of the Insureds in connection with the Underlying

Action.

          39.     By its plain meaning, the complaint in the Underlying Action seeks damages for

"bodily injury" allegedly arising out of ingestion and exposure to lead or lead paint.

          40.     The Insureds therefore must establish that Mr. Wilson and Ms. Wilson were "first

diagnosed" with lead levels in excess of the "safe level" during the policy periods.

          41.    None of the Insureds have shown that Mr. Wilson and Ms. Wilson were

diagnosed with lead levels in excess of the "safe level" during the policy periods.

          42.     For this reason, CX Re does not have a duty to defend any of the Insureds in the

Underlying Action.

          43.     For the same reason, CX Re does not have an obligation to indemnify any of the

Insureds for any liability arising from the Underlying Action.




18236/0/02898653 DOCXyl
                                                  10
            Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 11 of 12



                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff CX Reinsurance Company Limited respectfully requests that this

Court issue declarations that:

         A.        The COVERAGE LIMITATION — LEAD CONTAMINATION endorsement applies under

the circumstances of the Underlying Action;

         B.        Brentwood Properties, LLC, Chase Management, Inc., or Paul L. Taylor, Jr. bear

the burden of establishing the applicability of an exception to the COVERAGE LIMITATION — LEAD

CONTAMINATION endorsement;

         C.        Brentwood Properties, LLC, Chase Management, Inc., or Paul L. Taylor, Jr. have

not shown the applicability of an exception to the COVERAGE LIMITATION — LEAD

CONTAMINATION endorsement;

         D.        CX Reinsurance Company Limited does not have a duty to defend Brentwood

Properties, LLC or Paul L. Taylor, Jr. in connection with the Underlying Action; and

         E.       CX Reinsurance Company Limited does not have an obligation to indemnify any

person, including without limitation Brentwood Properties, LLC, Chase Management, Inc., and

Paul L. Taylor, Jr., in connection with any settlement they may enter to resolve, or any liability

they may be determined to have, in connection with the Underlying Action.




18236/0/02898653.DOCXv I
                                                  11
            Case 1:19-cv-00226-ELH Document 1 Filed 01/24/19 Page 12 of 12



Respectfully submitted this 24th day of January, 2019.

                                                          /s/
                                             Stuart M.G. Seraina (Bar No. 25971)
                                             KRAMON & GRAHAM, P.A.
                                             One South Street, Suite 2600
                                             Baltimore, Maryland 21202
                                             sseraina@kg-law.com
                                             sniazy@kg-law.com
                                             Telephone: 410-752-6030
                                             Fax: 410-539-1269

                                             Attorneys for Plaintiff
                                             CX Reinsurance Company Limited




18236/0/02898653. DOCXv1                       12
